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                                                 United States Court of Appeals
                                                     For the Ninth Circuit

                  MAHMOOD YOONESSI,

                                                                                            Plaintiff-Appellant,
                                                               v.

                  LETITIA JAMES, attorney; WILLIAM J. PRASIFKA; KYLE WILCOX, attorney; MERRILL
                  TISCH; MEDICAL BOARD OF CALIFORNIA; LYNNETTE ANTOSH; JPMORGAN
                  CHASE BANK, N.A.,

                                                                                         Defendants-Appellees,


                                                       DOCKET# 25-1329
                  STATE OF NEW YORK
                  COUNTY OF ALBANY             ss:
                  CITY OF ALBANY

                         CRISTAL R. GAZELONE being duly sworn says:

                        I am over eighteen years of age and an employee in the office of the Attorney
                  General of the State of New York, attorney for the Defendants-Appellees Letitia
                  James and Merry! Tisch, herein.

                          On the 6th day of .June, 2025 I served the annexed Corrected Brief for
                  Defendants-AppeUees Letitia James and Merryl Tisch and the Supplemental
                  Excerpts of Record upon the individual named below, by depositing 1 copy thereof,
                  properly enclosed in a sealed, postpaid wrapper, in the letter box of the post office in the
                  City of Albany, New York, a depository under the exclusive care and custody of the United
                  States Postal Service, directed to the said individual at the address within the State
                  respectively theretofore designated by individual for that purpose as follows:

                  MAHMOOD YOONESSI
                  6790 CREST ROAD
                  RANCHO PALOS VERDES, CALIFORNIA 90275



                  Sworn to before me this
                                                                    {JumuR~
                  ~t.l!~day of June, 2025


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              -        FRE6ERICK A. BRODIE
             - =-~ or~RY _puauc-sTATE oF NEW YORK
                           No. 02BR6394010
                       Qualified in Albany County /
                   My Commission Expires 07-01-2021
